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               United States Court of Appeals
                                For the First Circuit
                                   _____________________

 No. 20-1135
                                    VINCENT E. STUART,

                                      Plaintiff, Appellant,

                                               v.

   CITY OF FRAMINGHAM, MASSACHUSETTS, f/k/a Town of Framingham; and BRIAN
          SIMONEAU, Assistant to the Chief of Police of the City of Framingham,

                                     Defendant, Appellees.
                                     __________________

                                         JUDGMENT

                                  Entered: February 24, 2021

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

       Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 judgment of the district court is affirmed.


                                                    By the Court:

                                                    Maria R. Hamilton, Clerk


 cc: Seth Jared Robbins, Benjamin J. Wish, John J. Cloherty III, Timothy M. Burke
